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IN THE UNITED STATES DISTRICT COURT
FOR THE DlSTRlCT OF COLORADO
Civil Action No.
DONALD WAINSCOTT and RENA WAINSCOTT,
PlaintiffsJ
l v.

ASPEN PRODUCE, LLC,

 

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l
i Dei"endant.
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COMPLAINT AND .]URY DEMAN])

 

Plaintiffs Donald Wainscott and Rena Wainscott, by and throuin their attorneys, PURVIS

~ GRAY, LLP, for their Complaint herein allege the following:
.]URISI)ICTIONAL ALLEGATIONS

l. This is an action to recover damages arising from severe personal injuries sustained
as a result of a head-on collision between a vehicle driven by PlaintiffDonald Wainscott and a semi-
trailer truck which crossed over the center line of the roadway and into the Wainscott Vehicle which
was proceeding in the opposite direction.

2. `Plaintiffs Donald Wainscott and Rena Wainscott are husband and wife and residents
of the state of Arizona.

3. Defendant Aspen Produce, LLC is a limited liability company organized and existing
§ under the laws ot` the state of Colorado and has its principal place of business in the state of

Colorado. All members of the LLC are residents of the State of Colorado.

 

 

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4. The amount in controversy exceeds the sum of $75,000 exclusive of interest and
costs

5. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332.

6. Venue is proper in this Court pursuant to 28 U.S.C. §1391(a).

FIRST CLAIM F()R RELIEF
(Negligent Hiring and Utilization of Independent Contractor)

7. The preceding allegations of this Complaint are incorporated herein by this reference
as if again set forth verbatim.

8. On June 17, 2010, at approximately 10 :OO a.1n., in the southwestern part of Colorado,
near Alamosa, Plaintift`Donald Wainscott was in ahead~on collision which occurred when the driver
of a tractor trailer trucl<, carrying a full load, fell asleep and the truck crossed over the center line of
the highway and collided with the vehicle operated by Donald Wainscott.

9. The truck was owned by Larry Calvin Wright d/b/ a Larry Wright Trucl<ing
(hereinafter rlWright"). At that time of the collision here at issue, the truck was being operated by
Wendell Gaskin.

lO. At the time of the collision, the Wright semi-trailer truck was carrying potatoes
obtained from and loaded at the premises of Defendant Aspen Produce, LLC in Center, Colorado.

ll. During the loading process at Defendant Aspen Produce, LLC on June l?’, 2010,
Wendell Gasl<in had conversations and interactions with one or more employees ofDefendant Aspen
Produce, LLC who were acting within the course and scope of employment During the course oi"
those conversations and interactions, at least two employees ofDei`endant Aspen Produce, LLC were

informed and became aware that Wendell Gaskin had not slept at all the previous night, that "he was

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like not all there", and that "he didn’t' really know what he was doing".

12. Furthermore, on June l7, 2010, Wendell Gasl{in did not have a valid driver's license
required to operate the commercial vehicle he was driving

l3. Defendant Aspen Produce, LLC made no inquiry or determination as to whether
Wendeli Gasl<in was properly licensed to drive a commercial vehicle, and Defendant Aspen Pro duce,
LLC had no practice or procedure for doing so.

14. The agents and employees of Defendant Aspen Produce, LLC chose to utilize
Wendell Gaslcin to proceed with transport of the potatoes obtained from Defendant Aspen Produce,
LLC and chose to permit and allow Wendell Gaslcin to drive the semi-trailertrucl< carrying that load
on the public highways of the state of Colorado.

15. Those acts and omissions of employees of Defendant Aspen Produce, LLC
constituted negligent hiring and utilization of an unfit independent contractor

16. The negligence of those employees is imputed to Defendant Aspen Produce, LLC
under the doctrine of respondeat superior.

l7. That negligence directly and proximately caused injuries, damages, and losses to
Defendant Donald Wainscott including, without limitation, the following:

(a) head and brain injuries with bilateral subdural hemorrhage;

(b) unstable fracture of the C2 vertebrae and fracture of the C6 vertebrae ;

(c) chest trauma with fracture of the sternum;

(d) bilateral rib fractures and tlail chest involving 3rd through llth left side rib
fractures, many being segmental',

(e) right side fractures of the lst and 3rd ribs;

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(f) mediastinal hematoma',
(g) pneumothorax with right-side pleural effusion;
(h) respiratory failure;
(l) fracture of the right forearm g
(j) anemia secondary to acute blood loss',
(k) extensive hospitalization, treatment, and therapy;
(l) medical, treatment, and related billings in excess 0f$1,000,000',
(m) physical and mental pain and suffering and emotional distress, past and
future ;
(n) loss of life enjoyment and impairment of quality of life, past and fntnre; and
(o) physical impairment, past and future.
SECOND CLAIM FOR RELIEF
(Loss of Consortium)
18. The preceding allegations of this Complaint are incorporated herein by this reference

as if again set forth verbatiml

19. As a direct and proximate result of the negligence of Defendant Aspen Produce, LLC

and the resulting injuries to her spouse, PlaintiffDonald Wainscott, Plaintiff Rena Wainscott has

incurred loss of rights of consortium, including Donald Wainscott's aid, comfort, society, affection,

and household services, all past and future.

WI-IEREFORE, Plaintiffs pray for judgment against the Defendant in amounts to be

determined by a jury for compensatory damages sufficient to compensate them for their injuries,

damages, and losses, for interest from the date of the injuries to PlaintiffDonald Wainscott, for costs,

 

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expert witness fees, and such other and further relief as the Court deems appropriate
JURY DEMAND
PLAINTIFFS DEl\/IAND TRIAL TO A JURY O'F SIX

ON ALL ISSUES SO TRIABLE.

s/ John A. Purvis
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